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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                                     GAINESVILLE DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
SHARON WRIGHT AUSTIN, MICHAEL                                        :
MCDONALD, AND DANIEL A. SMITH,                                       :
JEFFREY GOLDHAGEN, TERESA J. REID,                                   :
and KENNETH B. NUNN,                                                 : 1:21-cv-00184-MW-GRJ
                                                                     :
                               Plaintiffs,                           :
                                                                     :
         v.                                                          :
                                                                     :
UNIVERSITY OF FLORIDA BOARD OF                                       :
TRUSTEES, the public body corporate acting for :
and behalf of the University of Florida, W. KENT :
FUCHS, in his official capacity as President of the :
University of Florida, JOSEPH GLOVER, in his :
official capacity as Provost of the University of :
Florida, and LAURA ROSENBURY, in her                                 :
official capacity as Dean of the Fredric G. Levin :
College of Law,                                                      :
                                                                     :
                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


            DECLARATION OF SHARON WRIGHT AUSTIN

I, Sharon Wright Austin, hereby declare and state as follows:

       1.     I am a Professor of Political Science at the University of

Florida.    I have been a member of the University of Florida’s (the

“University”) faculty since 2001. I have personal knowledge of the matters

set forth herein.
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      2.    My scholarship and research focuses on African American

mayoral elections, African American and Caribbean American political

relationships, rural African American political activism, and African

American political behavior. I have authored books on African American

political participation and published numerous articles on related topics. In

addition, until recently, I was the Director of the University’s African

American Studies program.

      3.    Earlier this year, I participated in an expert witness training

program run by the NAACP. The goal of the program is to support faculty

who are members of underrepresented groups in becoming expert witnesses.

      4.    After completing that program, I was contacted by attorneys

representing voting right advocates who had sued to enjoin SB 90, a law

that, among other things, imposes obstacles on Florida voters’ ability to cast

ballots through in-person voting, mail-in voting, and the use of secure drop-

boxes for early voting. The attorneys asked if I would be willing to act as an

expert witness in support of their challenge to SB 90, to which I readily

agreed.

      5.    I was one of at least three University professors asked to act as

an expert witness in the litigation challenging SB 90.




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        6.    I was specifically asked to testify on topics including the history

of voting discrimination against minority groups and the impact of vote-by-

mail measures on minority groups. The attorneys requested that I draft an

expert report, submit to a deposition, and ultimately testify at trial.

        7.    I understood that I would be testifying in my personal capacity

and not as a representative of the University. I also would be compensated

for my time and expenses while serving as an expert witness, but my

opinions and testimony would not be contingent in any way on the outcome

of the litigation.

        8.    In accordance with the University’s Conflicts of Interest and

Conflicts of Commitment Policy (the “Policy”), I submitted a request

through UFOLIO disclosing my engagement as an expert witness in

connection with the SB 90 litigation.

        9.    On October 15, 2021, I received by email a disapproval notice

stating that “UF will deny its employees’ requests to engage in outside

activities when it determines the activities are adverse to its interests.” Ex.

15.1 The notice further stated that, “[a]s UF is a state actor, litigation against

the [S]tate is adverse to UF’s interests.” Id.



1
 “Ex. X” refers to the exhibits attached to the Declaration of Morgan A. Davis, submitted
herewith.


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      10.    In the following weeks, my counsel sent a number of letters to

the University pointing out that the University’s Policy violated my and my

colleagues’ constitutional rights and asking the University to reverse its

disapproval decisions.

      11.    In response to these communications and the public outcry that

followed, the University adopted a series of shifting explanations.        On

October 30, 2021, the University issued a statement that my testimony

would be adverse to the University’s interests as a public institution, in part

because I would be paid for my time and expenses. Ex. 16. On November 1,

2021, Ryan Fuller, the University’s Deputy General Counsel, said in an

email that I could participate as an expert witness—but only if I did so in my

personal capacity and without compensation for my work. Ex. 18. President

Fuchs reinforced the latter position when he issued a statement on November

1, 2021 that my colleagues and I could in fact testify, but only if we did so

pro bono. Ex. 17.

      12.    Despite these public statements, during this time, the University

did not communicate directly with me with regard to my UFOLIO request

and the status of my request in the UFOLIO system remained “denied.”




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      13.    On November 5, 2021, the University reversed its UFOLIO

denials for my and my colleagues’ participation as expert witnesses in the

SB 90 litigation.

      14.    Though I am able to testify as an expert witness in the SB 90

litigation, the University’s Policy remains in effect, and the amendments

proposed by the task force do not remedy the Policy’s defects.           The

amendments fail to ensure that I will not be discriminated against based on

my viewpoint. That is because the University still retains the discretion to

deny my request to serve as an expert witness if doing so would be adverse

to “an important and particularized interest” of the University, and the

amendments fail to define what such an interest would or could be. As long

as this Policy remains in place, my ability to exercise my First Amendment

rights by testifying on matters of public concern is left to the University’s

discretion. This leaves me hesitant to attempt to serve as an expert witness

in the future out of a concern that the University will, again, use its

considerable discretion to deny my request because of the viewpoint that I

wish to express.




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